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                                                                      U.S. DISTRICT COURT
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              RUTHIE LEE,


                   Plaintiff,

                   V.

                                                                CV 2:19-140
              SELECT PORTFOLIO SERVICING,
              INC.,

                   Defendant.




                                               ORDER


                   Before the Court is a motion to dismiss filed by Defendant

              Select Portfolio Servicing, Inc.     Dkt. No. 4.    Plaintiff has filed

              no response to the motion, and the time for doing so has passed.

                                            BACKGROtJND


                   On July 23, 2019, Plaintiff filed a Complaint in the Superior

              Court of Glynn County seeking cancellation of a security deed on

              real property-    Dkt. No. 1-1.     On November 13, 2019, Defendant

              filed a notice of removal to this Court.        Dkt. No. 1.

                   Following the removal of the case, the Clerk mailed notice of

              the removal to Plaintiff's counsel, which included a notification

              that "PLAINTIFF'S   COUNSEL   INTENDING   TO   APPEAR   IN   THE     REFERENCED


              MATTER MUST ENTER A NOTICE OF APPEARANCE OR A MOTION FOR ADMISSION


              PRO HAC VICE NO LATER THAN TEN      (10) DAYS AFTER THE ISSUANCE OP


AO 72A
(Rev. 8/82)
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THIS NOTICE."       Dkt. No. 3.   On November 20, 2019, Defendant filed

a motion to dismiss Plaintiff's Complaint and a motion to stay

this case pending the Court's ruling on same.       Dkt. Nos. 4, 5.   On

November 26, 2019, the Clerk sent a notice of filing deficiency to

Plaintiff's counsel for failure to enter a notice of appearance in

the case within ten days of the notice of removal.          Dkt. No. 7.

Thirteen days later, the attorney filed a notice of appearance on

behalf of Plaintiff.        Dkt. No. 8.    Plaintiff's counsel has not

filed a response to Defendant's motion to dismiss, the deadline

for which was December 4, 2019.        Neither has Plaintiff's counsel

filed a motion to file a response out of time.        Accordingly, the

motion is ripe for review.

     The facts stated herein are taken solely from Plaintiff's

Complaint and are assumed to be true pursuant to Rule 12(b)(6).

        Plaintiff is the owner of an undivided interest in a house

located at 124 Wasp Drive in Brunswick, Georgia (''the Property").

Dkt. No. 1-1 % 2.       With regard to the Property, Defendant Select

Portfolio Servicing, Inc. has caused to be recorded a deed to

secure debt which purports to bear Plaintiff s signature as one of

the grantors thereto. Id. f 3. Plaintiff did not sign the security

deed; in other words, the signature on the Security Deed is not

hers.    Id. 5 4.    Attached to Plaintiff's Complaint is a description

of the Property.
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     Plaintiff claims that Defendant caused the Security Deed to

be recorded with a forged signature and that ''the Court should

issue a judgment and Decree that the Defendant does not have a

claim as to the Plaintiff's interest in the subject property." This

appears to be a claim to remove a cloud from title pursuant to

O.C.G.A. §§ 23-3-40 et seq.           Plaintiff also asserts a claim of

fraud.     Plaintiff seeks a judgment that the property is free and

clear of any claim by Defendant, as well as damages, including

punitive damages, and attorney's fees.

     In response to Plaintiff's Complaint, Defendant has filed a

motion to dismiss, attaching the Security Deed which encumbers the

Property    and   all Assignments      thereof.    Dkt.    Nos.   4-2,   4-3.

Defendant argues that it "played no role in the creation of the

Security Deed and no facts are alleged to show that it did."             Dkt.

No. 4-1 at 3.


                               LEGAL STANDARD


     Federal      Rule   of   Civil   Procedure   8(a)    requires   that   a

plaintiff s complaint contain "a short and plain statement of the

claim showing that the pleader is entitled to relief."               Fed. R.

Civ. P. 8(a).       Claims of fraud are subject to the heightened

pleading standard of Rule 9(b), which requires the pleader to

"state with particularity the circumstances constituting" same.

     When ruling on a motion to dismiss brought pursuant to Rule

12(b)(6), a district court must accept as true the facts set forth
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in    the   complaint     and     draw    all   reasonable    inferences      in   the

plaintiff's favor.            Randall v. Scott, 610 F.3d 701, 705 (11th Cir.

2010).      Although a complaint need not contain detailed factual

allegations, it must contain ^^enough facts to state a claim to

relief that is plausible on its face."                   Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 570 (2007).

       ^'A claim has facial plausibility when the plaintiff pleads

factual     content     that     allows   the   court   to   draw   the   reasonable

inference that the defendant is liable for the misconduct alleged."

Ashcroft V. Iqbal, 556 U.S. 662, 678 (2009).                   The Court accepts

the allegations in the complaint as true and draws all reasonable

inferences in favor of the plaintiff.                   Ray v. Spirit Airlines,

Inc., 836 F.3d 1340, 1347 (11th Cir. 2016).                   However, the Court

does not accept as true threadbare recitations of the elements of

the claim and disregards legal conclusions unsupported by factual

allegations.     Iqbal, 556 U.S. at 678-79.             At a minimum, a complaint

should      '^contain     either     direct      or     inferential       allegations

respecting     all      the    material    elements     necessary    to    sustain   a

recovery under some viable legal theory."                    Fin. Sec. Assurance,

Inc. V. Stephens, Inc., 500 F.3d 1276, 1282-83 (11th Cir. 2007)

(per curiam) (quoting Roe v. Aware Woman Ctr. for Choice, Inc.,

253 F.3d 678, 683 (11th Cir. 2001)).
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                                DISCUSSION


     Defendant requests the Court take judicial notice of all

exhibits it attaches to its motion to dismiss, i.e. the Security

Deed for the property and all Assignments thereof.                Dkt. No. 4-1

at 2 n.l.     The Court does so, as it can consider public records

when deciding a motion pursuant to Federal Rule of Civil Procedure

12(b)    without   converting   the   motion    to   a   motion   for   summary

judgment.    Bryant v. Avado Brands, Inc., 187 F.3d 1271, 1280 {11th

Cir. 1999).

        Defendant argues that Plaintiff s claims fail because she has

not alleged any facts showing that Defendant is the holder of the

Security Deed, and the public records affirmatively show that it

is not.     Further, Defendant argues that Plaintiff has failed to

allege any facts showing that she has title to the Property and

has stated in only conclusory fashion that she is the owner of the

Property.

        Though generally a Court accepts as true the allegations

contained in the Complaint, here, the public records attached to

Defendant's     motion   to   dismiss,   i.e.    the     Security    Deed   and

Assignments thereof, appear to disprove Plaintiff s allegations

that Defendant is the holder of the Security Deed.                 Plaintiffs

conclusory assertion that Defendant committed fraud by forging her

signature may not meet the heightened pleading requirement of Rule

9(b).
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     The   Complaint      was   originally    filed   in    the   state   system.

Plaintiff is permitted to amend her complaint within seven (7)

days of the date of this Order.              Plaintiff's failure to timely

file an amended complaint that meets the pleading standards of

federal    court   will    result    in   dismissal    of   this   action    with


prejudice.

                                    CONCLUSION


     Plaintiff is permitted to file an amended complaint within

seven (7) days of the date of this Order.             The Court defers ruling

on Defendant's motion to dismiss, dkt. no. 4, for now.              Defendant's

motion to stay, dkt. no. 5, is GRANTED.                All deadlines will be

stayed until further order of the Court.

     SO ORDERED, this 10th day of December, 2019.




                                HON.'^ LISA GODBEY WOOD, JUDGE
                                UNITED STATES DISTRICT COURT
                                SOUTHERN   DISTRICT OF GEORGIA
